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                             UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF IDAHO


  JASON HENRY ALLEN,
                                                     Case No. 2:25-cv-00172-AKB
         Plaintiff,

         v.                                          ORDER ON MOTION TO PERMIT
                                                     ELECTRONIC CASE FILINGS
  IDAHO CENTRAL CREDIT UNION; and
  BRIAN M. BERRETT,

         Defendants.


       On March 27, 2025, Plaintiff filed his motion to permit electronic case filings. (Dkt. 5).

Federal Rule of Civil Procedure 5(d)(3)(B) allows a person not represented by an attorney to file

and sign documents electronically if allowed by court order or local rule. The District of Idaho

uses the judiciary’s Case Management and Electronic Case Files (CM/ECF) Program. Dist. Idaho

Loc. Civ. Rule 5.1(a). Only registered participants may file documents electronically.

       While an unrepresented individual may obtain the Court’s permission to file submissions

electronically using the CM/ECF system, such authorization is typically denied unless the pro se

party makes a showing of good cause or extenuating circumstances justifying such relief. See, e.g.,

McMahon v. Cleveland Clinic Found. Police Dep’t, 455 F. App’x 874, 878 (11th Cir. 2011)

(affirming district court’s denial of pro se plaintiff’s access to CM/ECF because plaintiff did not

show good cause).

       In this case, although Plaintiff explains paper filings are more burdensome than CM/ECF

access, Plaintiff has not shown the requisite extenuating circumstances to use CM/ECF rather than

the U.S. mail system. The Court will therefore deny his request at this time without prejudice.



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      IT IS THEREFORE ORDERED THAT:

      1.    Plaintiff’s Motion to Grant Access to the CM/ECF System (Dkt. 5) is DENIED

WITHOUT PREJUDICE.


                                                                  March 28, 2025




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